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                                      #:1001
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 9
                                  UNITED STATES DISTRICT COURT
10
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     NANO FOUNDATION, LTD., a New York non-              Case No. 2:19-cv-04237 DDP (PJWx)
12   profit corporation; and
13   COLIN LEMAHIEU, an individual;                      Declaration of David C. Silver
14                 Plaintiffs,

15          v.

16   DAVID C. SILVER, an individual;

17                 Defendant.

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                                    DECLARATION OF DAVID C. SILVER
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                                      #:1002


 1                             UNITED STATES DISTRICT COURT
 2
                              CENTRAL DISTRICT OF CALIFORNIA
                                   Civil Action No. 2:19-cv-04237-SVW-PJW
 3

 4   NANO FOUNDATION, LTD., a New York non-profit corporation; and
     COLIN LEMAHIEU, an individual
 5
             Plaintiffs,
 6   v.
 7   DAVID C. SILVER, an individual;
 8         Defendant.
     ________________________________________________/
 9
                                   DECLARATION OF DAVID C. SILVER
10
             Pursuant to 28 U.S.C. § 1746, I, DAVID C. SILVER, declare and affirm the following:
11
            1.    My name is David C. Silver. I am more than 21-years-old and make this Declaration
12   based upon my personal knowledge and review of the relevant documents.
13           2.      I am the named defendant in the above-captioned lawsuit.
14           3.     To this Declaration, I have attached as Exhibit “A” a true and correct copy of the
     transcript of my statements at the May 24, 2018 Blockchain Law Summit in Los Angeles, California
15   relating to NANO and COLIN LEMAHIEU. The portions omitted from Plaintiffs’ Complaint are
     highlighted in yellow.
16
             4.    To this Declaration, I have attached as Exhibit “B” a true and correct copy of a
17   document published on NANO’s website called “Press Kit 2019.” In that document, NANO claims
18   that it “aims to become a global currency,” that its Nano currency has “global popularity and
     acceptance,” and that it has “700 Representative Nodes Online Around the World.”
19
                                                      (1)
20
                                             (2) VERIFICATION
21           I, DAVID C. SILVER, hereby verify and declare under penalty of perjury that I have read the
22   foregoing Declaration and know the contents thereof, and that the matters contained in the Declaration
     are true to my own knowledge.
23
          I hereby verify and declare under penalty of perjury that the foregoing is true and correct.
24

25                                                          ____________________________________
                                                            DAVID C. SILVER
26   DATED this      22nd    day of July 2019.
27

28
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            What's another lawsuit we were doing? Nano, I forgot about Nano.
            Nano is one my favorites. Actually, some of the legal writers have
            become more famous for talking about my Nano case and got them
            more publicity than I have. Nano was a coin. Unlike everybody else,
            the Nano team has told everyone who they are. What are we doing?
            There is 150 million dollars hacked from an exchange in Italy. My
            clients lost 150 million, my clients are actually out of pocket about
            35 million, but Nano was a little different. Nano is not really a real
            coin. They claim to be a real coin, but what couldn't get any
            recognition in the United States. Coinbase, Kraken, Poloniex,
            Bitfinex, Gemini, no one is willing to put them on their exchange.
            Why? Because they were an alternative coin and they weren't really
            a real coin. What did they do? They tell their customers, "If you
            really believe in Nano, go to the small exchange in Italy that we
            don't know anybody and we have nothing to do with, but we
            completely vouch for him. He's running a legitimate exchange, we're
            going to give him the Nano, he's going to give us money every time
            he sells a Nano. He's going to take half, we're going to take half.
            We're going to get rich and then one day there's going to be an exit
            scam and you're going to be out of $150 million."
            Now, what do we do? We turned around, we sued the developers of
            Nano. Why? When they were asked to fix the problem and fork it,
            their response was, "It's against our ethos." Let me tell you about
            people's ethos in this space. People's ethos in this space may have
            started out with the best of intentions, but the path to hell was paved
            with good intentions. I don't care where your ethos is. You live in
            the United States of America, there are laws here, those laws will be
            followed. We are now in federal court. When they tell the judge,
            "Well, we don't want to give back the money," a federal court judge
            is going to say, "Well, if you want to stay here and you don't want to
            go to jail, you're going to give back the money."

                                   *               *               *
            Nano, the CEO and the head guy at Nano who holds 90% of Nano,
            at like $15 it was worth 1.4 billion. I think it's down to like $4, so I
            think it's only worth like $400 million now. He got divorced from his
            wife last year. He decided that he was ready, he deserved better
            because he's now rich. She took all the money. In the financial
            affidavit, they've argued about how much a Nano was worth and
            what a Nano was. I will tell you this, he said it had value. He said
            he believed it was going up and he believed there was a security
            because he put it on his security side of the affidavit.




                                  EXHIBIT “A”
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                       EXHIBIT "B"
                                                                           Press Kit 2019
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                                                         #:1005




Dear Reader,
                                                                                      Table of Contents

                                                                                      Overview
Thank you for your interest in Nano. Widely renowned as one of the most
innovative digital currencies, Nano aims to become a global currency with ultrafast
                                                                                      Objectives
transactions and zero fees over a secure, decentralized network.

The Nano protocol is developed by the Nano Foundation, a non-profit software          Stats
development organization. The core team, alongside the community, are driven to
see true change happen in the realm of global financial transactions. As an open-
source project, we are all driven to collaborate and help further the technological
benefits that the Nano platform can achieve.

For all inquiries and official Nano Foundation team statements, please contact;


Andy Johnson, Communications Manager,
press@nano.org

Thank you,



The Nano Foundation.
                              Case 2:19-cv-04237-SVW-PJW Document 34-1 Filed 07/22/19 Page 6 of 10 Page ID
                                                               #:1006
Overview

                                                                                           Proof of Stake:
   What is Nano?
                                                                                           Example: A discrepancy has occurred.
   Nano is a cryptocurrency developed to solve three problems identified in                Which transaction is valid, 1 or 2?
   typical cryptocurrency transactions: (1) lengthy transaction times, (2)
   unnecessary transaction costs and (3) inefficient use of energy.                                                                                 Large holders of Nano
                                                                                                                                                    may cast their vote
   Nano solves problems of slow transactions and cost by employing a novel
                                                                                                                                                           Account M
   block-lattice data structure, wherein each user account possesses its own block-                                                                        Holds 100K Nano
   chain. The user account’s blockchain keeps track of their account’s entire trans-                                                  Account B
                                                                                                                                                           Voting Weight: 50
   action and balance history.                                                                                           1


   Instead of powerful computers being required to add a discrete number of                                                                                Account Q
                                                                                                                                                           Holds 30K Nano
   transactions to a single, bulky blockchain, the Nano architecture requires only the
   sender and receiver to communicate and update their respective block-chains to                                                                          Voting Weight: 10
                                                                                                            S                2
   complete a transaction. Individual blockchains may thus be updated
   asynchronously, which permits the Nano network to achieve near instanta-                                                                                Account X
   neous transaction speed and unlimited scalability (maximum throughput is                                                                                Holds 45K Nano
   based on hardware capabilities) without sacrificing security.                                                                      Account C            Voting Weight: 14


   The only cost of a Nano transaction is a small proof of work, which uses less than
   0.002 cents worth of electricity, and Nano transactions take, on average, less         Account A                                                      Transaction 1 is
   than a second to complete.                                                                                                                            validated with a vote of
                                                                                                                                                         60-14


           Account A              Account B              Account C
                                                                                         Each Nano transaction sent or received is also broadcast to the entire network and
                                                                       R                 recorded in historical ledgers (“unpruned ledgers”). Account holders who wish to
                                                S
                                                                                         do so (typically larger market participants) may keep a copy of unpruned
                                                                                         ledgers, which keep track of all user accounts’ transactions and balance
                         R                                                               histories. If a malicious actor causes a conflict to arise in an individual account (i.e.
                                                                       R                 two new blocks referencing the same previous block in a block-chain), the conflict
                                                S
           Time




                                                                                         is automatically resolved by the Nano network.
                         R
                                                                       S                 The network resolves the conflict by asking active nodes on the network which
                                                                                         block they saw first. As Nano uses a Open Representative Voting (ORV) form of
                                                R                                        consensus, the nodes answer through balance-weighted voting equal to the
                         S
                                                                                         amount of Nano they possess or has been delegated to them by users.
                                                                       S
                                                                                         Account holders may choose to assign their votes to a representative so that
                                                                                         their votes may be cast when they are offline. The winning transaction is
    S = Send                                                                             kept and the losing transaction is rejected. This voting process occurs in a
    R = Receive                                                                          matter of seconds.
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                                                                  #:1007
Overview Continued

    Nano’s Origins: No ICO
    Nano was launched on October 4, 2015 by Colin LeMahieu, a computer engineer
    at Qualcomm, as a personal project. At the time, it was called RaiBlocks with “XRB”
    as its ticker.

    To make sure the currency was distributed fairly and as organically as possible,
    LeMahieu implemented a “faucet” distribution system. Users solved complex
    CAPTCHA tests and upon completion were rewarded Nano. There was no initial
    coin offering nor was any Nano developer or team member engaged in driving
    speculation.

    The developers of Nano did not reserve any amount of coins for themselves prior
    to the initiation of the CAPTCHA-based faucet distribution system. Rather,
    those completing the CAPTCHA tests were provided with an optional “donation”
    checkbox where they could donate part of their awarded Nano to the developer
    fund.

    In March 2017, Nano was traded publicly for the first time on a cryptocurrency
    exchange. On October 20, 2017, the last Nano was distributed via the CAPT-CHA
    system and a decision was made to close the “faucet”, resulting in                    Who is the Nano Foundation?
    133,248,289 Nano in circulation, 7,000,000 of which were assigned to a devel-
    opment fund, and 205,676,479 being sent to an inaccessible burn address.              No corporation or individual owns the Nano currency. It is open source and any
                                                                                          person at any time may copy the technology, use it or contribute to the project.
    The developer fund currently holds approximately 3 million Nano. In December
    2017, Colin began working full-time on the Nano project.                              The Nano Foundation is a non-profit software development organization whose aim
                                                                                          is to make money more efficient for a more equal world. It supports the work of the
                                                                                          core protocol developers and dedicated community members towards establishing
    The CAPTCHA Faucet System:
                                                                                          Nano as a global digital currency.

                                                                                          Nano’s core team can be found at Nano.org.

                                                                                          The Nano Community Online:

                                                                                                Twitter Followers         Telegram Community           Reddit Community

                                                                                                        100K                         15K                         40K
                      Click on all the cats
                                                                                                    @nano                     t.me/raiblocks             r/nanocurrency
                             DONE
                              Case 2:19-cv-04237-SVW-PJW Document 34-1 Filed 07/22/19 Page 8 of 10 Page ID
                                                               #:1008
Objectives

    As Nano was created with the sole function of being a currency, the Nano
    team is focused on building to this goal. We believe that increasing adoption,          Protocol
    developing support applications, and fine tuning the protocol are key.
                                                                                            The Nano development team is constantly looking for ways to improve upon the
                                                                                            performance of the Nano protocol. This involves ledger pruning, vote distribution,
    Adoption                                                                                and security audits.

                                                                                                                 With the recent Universal Blocks upgrade, ledger pruning allows
    In keeping with Nano Foundation’s initial priority of fostering adoption and use        Ledger Pruning
    of Nano currency, integration on exchanges has been a primary objective in the                               for a much smaller local database size by “pruning” off blocks
    short term. The team is also seeking out unique use cases where users could                                  other than the frontier.
    benefit from adopting Nano immediately, as well as producing materials to educate
    users.                                                                                                       Decentralization of the Nano network is key to for its utilization
                                                                                            Vote Distribution    on a global scale. Increasing the amount of nodes and
                                                                                                                 representatives is key for this to take place.
         Some of the Current Exchanges and Services Listing Nano
                                                                                                                 The Nano Foundation will recruit experts in consensus
                                                                                            Security Audit       algorithms, cryptography, and computer science to conduct
                   Binance     Kucoin          CoinGate     OKex                                                 audits on the Nano protocol at important milestones in
                   Houbi       Wirex           Gate.io      RightBTC                                             development.




    Applications
    The Nano team has been hard at work developing solutions to help
    proliferation and ease of use.




                   Mobile & Desktop Wallets                                Hardware Wallets                                        Point of Sale

                     Allows for bootstrap process                      Ledger Nano S wallet provides                       Nano "Plug & Pay" Point-of-Sale
                    under 30 minutes on desktop                            secure offline storage                           Platform for vendor & mobile
                   (instantaneous on mobile light                                                                           terminals enters alpha testing
                                wallets)                          Jolt wallet being developed to provide
                                                                        a hardware wallet for ~$35                       Developing turn-key merchant point-
                  A secure experience for sharing                                                                          of-sale solutions. A multi-focused
                  accounts across multiple devices            Nano team is working with industry leaders to              approach targeting vendors of every
                                                               provide multiple hardware solutions for the              level from mobile to brick-and-mortar
                                                                               community.                                     will be uniquely catered to.
                    Case 2:19-cv-04237-SVW-PJW Document 34-1 Filed 07/22/19 Page 9 of 10 Page ID
                                                     #:1009
Stats



Supply                                                             Nodes & Representatives
             Circulating   133,248,297 NANO
                   Max     133,248,297 NANO

Statistics


                   Power Cost Per
                   Transaction       0.112Wh
                                                                   Nodes are the engines that drive the Nano network. Nano’s global
                                                                   popularity and acceptance can be measured as more nodes come
                                                                   online around the world.
                   Transaction
                   Speed                ~1 sec
                                                                         700          Representative Nodes Online Around
                                                                                      the World


                   Consensus              Open                           70           Online Principal Representatives
                   Model              Representative
                                         Voting

                                                                                         (Data as of June 2019)
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                                      #:1010
                                                      Case No. 2:19-cv-04237 DDP (PJWx)

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 6
                                      CERTIFICATE OF SERVICE
 7
             I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk of
 8    Court on 22 day of July 2019, by using the CM/ECF system and that a true and correct copy will be
      served via electronic mail to: RYAN M. LAPINE, ESQ. and JOSHUA H. HERR, ESQ., PIERCE
 9    ROSENFELD, MEYER & SUSSMAN, LLP, Counsel for Plaintiffs, 232 North Canon Drive, Beverly Hills,
      CA 90210-5302; E-mail: RLapine@rmslaw.com; JHerr@rmslaw.com.
10

11                                                        /s/ Brandon S. Reif
                                                              BRANDON S. REIF
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